Case 2:04-cV-02605-.]DB-tmp Document 13 Filed 05/31/05 Page 1 of 2 Page|D 18

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lN THE UNITED STATES DlSTRICT CoURT *…’ § Z
FoR THE WESTERN DISTRICT oF TENNESSEE 05 wm 3\ w 3120
WESTERN DIVISIoN

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‘ o1"T. CT.
JAMES ADAMS, \,\({L§n?t%:t"lr§¢ :‘-.a?,~j:»’~.m-MS
Plaimiff,
vS. NO. 04-2605-B/P

PATRICIA GALLOWAY, et al.,

Defendants.

ORDER OF REFERENCE
Before the court is the pro §§ Plaintiff’s Motion for Court to Set Tria] Date filed
on May 26, 2005.
The above motion is hereby referred to the Honorable Tu Pharn, U.S. Magistrate

Judge, for the purpose of conducting a scheduling conference

I'l` IS SO ORDERED.

 

 

.DANIEL BREEN \
IT STATES DISTRICT JUDGE

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DATE \ ’

Th*s document entered on the dock tsheet \r: compliance
W`nh Ru\e 68 and{or 79{3) FRCP on;'£ 3 §§ /_5/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
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June 2, 2005 to the parties listed.

ESSEE

 

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WEST TENNESSEE STATE PENITENTIARY
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Honorable .1. Breen
US DISTRICT COURT

